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                                         United States District Court
                                          Middle District of Florida
                                              Orlando Division

             Matthew Larosiere,
                        Plaintiff,

             v.

             Cody Rutledge Wilson, DEFCAD, Inc.,
             Defense Distributed, and Dioskouroi LLC,
                        Defendants.

             __________________________                           No. 6:24-cv-1629


             Defense Distributed,
                        Counterplaintiff /
                        Third-Party Plaintiff,

             v.

             The Gatalog, Matthew Larosiere,
             John Elik, Alexander Holladay, Peter
             Celentano, Josh Kiel Stroke, John Lettman,
             and MAF Corp,
                          Counterdefendant / Third-Party
                          Defendants.



                                        Declaration of Cody Wilson

                                             February 26, 2025
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             I, Cody Wilson, declare and state as follows.

             1.       I am a competent adult with personal knowledge of what this declaration
                      states and, if called upon to do so, could and would competently testify to all
                      of the facts set forth herein.

             2.       Before this action began, Counterdefendant John Elik maintained an online
                      social media account at Reddit as “IvanTTroll” that included substantial
                      content regarding material issues related to this litigation. On the same day
                      that Plaintiff Larosiere filed this lawsuit, Elik deleted the entire publication
                      history of his “IvanTTroll” Reddit account, leaving behind essentially none of
                      his prior Reddit publications and none of those prior Reddit publications’
                      thousands of comments:




             3.       Before this action began, Counterdefendant Peter Celentano maintained an
                      online social media account at X (Twitter) as “@Freeman13372” that
                      included substantial content regarding material issues related to this
                      litigation. On September 20, 2024, hours after receiving a litigation hold
                      letter for this litigation, Celentano deleted his X account entirely:




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                      A social media post by Joshua Meyers, published in the same time frame as
                      Celentano’s social media account deletion, confirms that Celentano deleted
                      his social media and Rocketchat accounts in response to this litigation:




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                      A social media post by Counterdefendant Josh Stroke (publishing as
                      “IAmArizona”), published in the same time frame as Celentano’s social
                      media account deletion, confirms that Celentano deleted his social media
                      accounts and Rocketchat access in response to this litigation:




             4.       Before this action began, Defendant Alex Holladay maintained the Gatalog's
                      published publication policies at gitlab.deterrencedispensed.com. In
                      response to this litigation, Holladay altered the Gatalog's publication policy
                      at gitlab.deterrencedispensed.com to support Larosiere's copyright claims:



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                      Holladay here posts as “CtrlPew” to edit the Deterrence Dispensed / Gatalog
                      wiki by changing their five-year-long policy on licensing files. Before, the
                      published policy stated that files did not need licenses unless a developer
                      wanted to protect the files. After the Larosiere suit was filed, the policy was
                      changed to state that files are presumed to have copyright and other rights
                      unless the developer makes a positive license to give rights away.

             5.       Counterdefendant Alex Holladay maintained all of the following content
                      regarding the "Gatalog University" before deleting it on November 26, 2024:




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                      Holladay had both hosted and then deleted the series announcement at his
                      website CtrlPew, Odysee.com and on X/Twitter.

             6.       The Gatalog's former and current Rocketchat administrator is an individual
                      known as “UberClay.” Before being mentioned by Defense Distributed’s
                      discovery materials as a material witness, this individual maintained an
                      account with the buymeacoffee.com financial transactions platform at
                      https://buymeacoffee.com/fr7hwjqzb7m:




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                      Immediately after being mentioned by Defense Distributed’s discovery
                      materials, the former and current Gatalog Rocketchat administrator that
                      goes by “UberClay” deleted this buymeacoffee.com account.

             7.       I declare under penalty of perjury under the laws of the United States of
                      America that the foregoing is true and correct.




             ____________________
             Cody Wilson
             February 26, 2025




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